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                                                1   MICHAEL J. IOANNOU (SBN 95208)
                                                    KEVIN W. ISAACSON (SBN 281067)
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                                                8   Attorneys for Defendants and Counterclaimants
                                                    ANALOG DEVICES, INC. and
                                                9   MAXIM INTEGRATED PRODUCTS, INC.
ROPERS A Professional Corporation




                                               10                                      UNITED STATES DISTRICT COURT

                                               11                                 NORTHERN DISTRICT OF CALIFORNIA
                                    San Jose




                                               12                                             SAN JOSE DIVISION

                                               13   NUMBER 14 B.V.,                                       Case No.: 5:24-cv-02435-EJD
                                               14                         Plaintiff,                      DECLARATION OF MIHAI
                                                                                                          MURGULESCU IN SUPPORT OF
                                    MAJESKI




                                               15            v.                                           OPPOSITION TO COUNTER-
                                                                                                          DEFENDANTS’ MOTION TO DISMISS
                                               16   ANALOG DEVICES, INC.; and MAXIM
                                                    INTEGRATED PRODUCTS, INC.,
                                               17                                                                  PUBLIC VERSION
                                                                          Defendants.
                                               18

                                               19   ANALOG DEVICES, INC.; and MAXIM
                                                    INTEGRATED PRODUCTS, INC.,
                                               20
                                                                          Counterclaimants,
                                               21
                                                             v.
                                               22
                                                    NUMBER 14 B.V., RUDY ESCHAUZIER,
                                               23   and NICO VAN RIJN.
                                               24                         Counter-Defendants.
                                               25

                                               26            I, Mihai Murgulescu, declare as follows:
                                               27            1.        I am employed at Analog Devices Inc. (“ADI”) as Patent Prosecution and
                                               28   Litigation Agent and hereby submit this Declaration in support of Defendants and

                                                    4871-9920-4055.1
                                                                                                                     Declaration of Mihai Murgulescu iso
                                                                                                   -1-                  Opposition to Motion to Dismiss
                                                                                                                                Case No. 5:24-CV-02435
                      Case 5:24-cv-02435-EJD Document 53-1 Filed 08/16/24 Page 2 of 49




                1   Counterclaimants Maxim Integrated Products Inc. ("Maxim") and ADI's Opposition to Plaintiff

                2   and Counter-Defendants Number 14 B.V., Rudy Eschauzier, and Nico van Rijn's Notice of

                3   Motion, Motion to Dismiss, and Memorandum of Points and Authorities in Suppo1t of Dismissal
                4   of Defendants' Counterclaims and Related Affirmative Defenses.

                5             2.       I am familiar with Maxim's business practices and relationships, including its

                6   employment agreements and record keeping. In 2007, when Rudy Eschauzier and Nico van Rijn

                7   were employed with Maxim and at the time the subject License Agreement was signed, Maxim

                8   was headquartered in Sunnyvale, California. Maxim's headquarters have always been located

                9   within California.
    C
    0
  :;::;
    ro
               10             3.       A true and correct copy of the Employment Agreements for Rudy Eschauzier with
    '-
    0
  a.
  0 ~          11   Mru..im is attached as Exhibit A.
  V o
  -ro ....,C
    § V)
      "'       12             4.       A true and correct copy of the Employment Agreement for Nico van Rijn with

 -
  ·;;;

    "'
    a,
    0
    .....      13   Maxim is attached as Exhibit B.
  0..
    <(
               14             5.       A true and correct copy of the Settlement Agreement regarding the termination of
(J)            15   employment for Rudy Eschauzier is attached as Exhibit C.
0::
w
(l_
               16             6.       A true and correct copy of the Settlement Agreement regarding the termination of

               17   employment for Nico van Rijn is attached as Exhibit D.
0              18             7.       A true and correct copy of the License Agreement between Maxim,
0::            19   Rudy Eschauzier, and Nico van Rijo is attached as Exhibit E.

               20            I declare under penalty of perjury under the laws of the United States of America that the

               21   foregoing is trne and correct.

               22             Executed this/3 day of August. 2024 at San Jose. California.

               23
                                                                      ,-

               24                                                     '7vfihai Murgulescu
               25
               26

               27
               28

                    4871-9920-4055.l
                                                                                        Declaration ofMihai Murgulescu iso
                                                                     -2-                   Opposition to Motion to Dismiss
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           EXHIBIT A
          [PUBLIC VERSION]
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                         EMPLOYMENT AGREEMENT



THE UNDERSIGNED:
(I)    MAXIM INTEGRATED PRODUCTS INC. a company organized under the
       law of Delaware in the United States, having its head office at 120 San Gabriel
       Drive, Sunnyvale, California 94086 (the Company),

and

(2)    RUDY ESCHAUZIER residing at
                       (the Employee);

WHEREAS:

(a)    the Employee has explicitly declared that he, with the entering of this
       employment agreement, will not violate a non competition clause or any such
       similar clauses with a former employer (the Non Competition Clause);

(b)    consequently parties have entered into a non-binding letter of intent dated June
       22, 2006, that was signed on June 29, 2006 regarding the employment of the
       Employee with the Company (and the terms of this agreement extinguish and
       terminates the letter of intent);

(b)    and parties have reached agreement on the terms and conditions of
       employment which they wish to record in writing in this agreement;

(c)    the Company, given the fact that the Company has entered in the non-binding
       letter of intent and consequently entered into this employment agreement,
       accepts the declaration of the Employee that with this employment agreement
       he will not be in violation of the Non Competition Clause, but from a business
       point of view has an interest to minimise the risk that this declaration is not
       correct, if any such risk exists, as much as possible;

( d)   parties therefore explicitly, unambiguously and unmistakably agree that if a
       former employer would invoke the Non Competition Clause and in (summary)
       proceedings a court will have (preliminarily) decided that the Employee is in
       violation of the Non Competition Clause and/or is not allowed to perform his
       duties on the bases of this employment agreement, this employment agreement
       will in accordance with article 1.4 of this Agreement terminate until the first
       date the Employee is no longer subject to the Non Competition Clause as
       determined by such court. Thereafter, this Agreement shall become re-
       effective and continue in effect pursuant to the terms and conditions contained
       herein. The Company will under no circumstances be obligated to pay the
       Employee any wage, damages, severance or other in respect to such a
       termination of the employment agreement as a result of the Non Competition




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       Clause being invoked successfully by a former employer. Parties agree to this
       all irrespective of unforeseen circumstances, such as illness.

HEREBY AGREE AS FOLLOWS:

1.     COMMENCEMENT AND TERM OF SERVICE

1.1     This agreement (the Agreement), is entered into with effect from September
3, 2007, or such later date as will be agreed upon by parties, for an indefinite period
of time.

1.2    This Employment Agreement may be terminated by either party in accordance
with Dutch law as per the last day of any calendar month by written notice to the
other party; the Employee observing a notice period of one month and the Company
observing a notice period of two months.

1.3    The employment will in any case terminate on the first day of the month in
which the Employee reaches the age of 65 or the pensionable age under the
Company's pension plan if any such plan exists.

1.4     The Agreement will if a former employer would invoke the Non Competition
Clause and in (summary) proceedings a court will have (preliminarily) decided that
the Employee is in violation of the Non Competition Clause and/or is not allowed to
perform his duties on the bases of this Agreement as of that date automatically be
dissolved or at least be deemed to be terminated with mutual consent. However, this
Agreement shall automatically become effective and continue in effect pursuant to the
terms and conditions contained herein on the first date the Employee is no longer
subject to the Non Competition Clause as determined by such court. If the Employee
or the Company wishes so, the other party will be obliged to cooperate with a formal
cantonal court procedure in which the termination of the employment agreement will
be asked at such a short term as possible. The Employee will not be entitled to the
salary, benefits and all other terms of employment under which (employee)
insurances as of the date of the courts decision on the Non Competition Clause. Under
no circumstances the Employee will be entitled to any damages, severance or other in
respect of the termination of this Agreement as a result of the Non Competition
Clause being invoked successfully by a former employer. Parties grant each other full
and final settlement of all obligations out of the Agreement and the termination
thereof. This article and the stipulation under a, c, and d, are a settlement agreement
within the meaning of article 7:900 and following of the Dutch Civil Code.

2.      DUTIES AND POWERS

2.1     The Employee is employed in the position of Design Director and Director of
Engineering of the Company's design centre to be established in Delft. A job
description is attached to this Agreement as Annex 1.

2.2   The Employee will devote his full time, energy and skills to the business of
the Company.




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2.3      The Employee shall also perfonn the tasks reasonably assigned to him by the
Company for any companies affiliated with the Company. Such functions shall be
governed by the terms and conditions contained in this Agreement and shall not
entitle the Employee to any farther remuneration.

2.4     The Employee shall perform his functions from the to be established branch
office of the Company (or an affiliate of the Company) in Delft. In case the branch
office in Delft has not yet been established upon the commencement date of this
agreement, the Employee will, until this office has been established perform his
functions from his home address or any other location designated by the Company in
Delft. At this moment, it is the Company's intention to keep the design centre in Delft
open and operational provided that such design centre satisfies the performance
metrics used by the Company to measure perfonnance of its individual design centres.
Additionally, as the Company is an international company, the Employee may be
required to travel to other locations, such as to the United States, and spend time
abroad as demanded by training periods, international activities of the Company
and/or requirements of his expected collaboration with Group Companies activities.

2.5    Working hours are from Monday to Friday, 40 hours a week. The Employee is
expected to work additional hours as part of his duties under this Agreement for
which no additional remuneration will be paid.

3.     SALARY AND HOLIDAY ALLOWANCE

3.1     The Employee shall receive                                              to be
paid after withholding of tax and social security premiums in accordance with the
Company's standard payroll practices.

3.2    The salary referred under to 3.1 above is deemed to be inclusive o~


3.3      The Employee shall not accept any monies or other remuneration from third
parties in connection with his activities for the Company and/or the companies
affiliated with the Company.

4.      BONUS

4. 1    The Employee will participate in the Key Employees' Bonus Program as
applicable from time to time, which is perfon11ance based and is assessed on
Employee's attainment of specific goals during the previous year.
                                                      Participation in the Key
Employee Bonus Program is contingent upon Employee's continued employment at
the Company on the anniversary date of his employment and undergoing a
performance review. Payment of a bonus to the Employee in any year will not lead to
a right to future bonus payments. The Company is at all times entitled to unilaterally
adjust or withdraw the Key Employees' Bonus Program.

4.2     No payment of the bonus as mentioned under 4. 1 will be made if this
Agreement ends due to: (i) the fact that the Employee has served notice of termination
of his employment with the Company; or (ii) if the reason for the termination of his




                                                                                 Page Ill   U4
                                                                                            _ I...._
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employment by the Company is an urgent cause (dringende reden) as meant in article
7:678 of the Dutch Civil Code or a severe reason (gewichtige reden) as meant in
article 7:685 of the Dutch Civil Code for which the Employee can be blamed or which
should come for his account.

5.      RESTRICTED STOCK UNITS AND ESPP

5.1     Subject to the approval by the Board of Directors of the Company, or a
Committee thereo
- -from the Company's 1996 Stock lncentive Plan (the "P lan"). The
RS Us will vest in equal instalments on a quarterly basis ( 1120th per quarter) over five
(5) years (vesting on February 15, May 15, August 15 and November 15 of each year)
with the first vesting date to be November 15, 2007, subject to Employee's continued
service to the Company through the relevant vesting dates. The RSUs will be settled
in shares of Company common stock on the vesting date with a purchase price of
$0.001 per share (the Company's par value), which will be considered to be paid with
past services rendered. The award of RS Us will be subject to the terms, definitions
and provisions of the Plan and the restricted stock unit agreement between to be
entered into between you and the Company after the Board's (or a Committee of the
Board) approval of the RS Us.

Subject to the approval by the Board of Directors of Maxim or a Committee thereof,
the Employee may also be eligible to participate in the performance based stock
option grants and restricted stock units, subject to the terms and conditions of the
Plan.

5.2    The Employee will be eligible to participate in the Company's 1987 Employee
Stock Purchase Plan (the ESPP), subject to the terms and conditions in the ESPP and
applicable laws.

5.3    The Employee shall comply with every rule of law and every regulation of the
Company and Group Companies in force from time to time relating to dealings in
shares or other securities.

5.4     Stock options, restricted stock units, awards under the ESPP and annual
bonuses paid pursuant to Section 4 are not part of Employee's employment wages and
benefits.

6.      PENSIONS

The Company shall enter into an agreement with an insurance company to arrange a
pension for the Employee on the basis of a defined contribution in accordance with
the Dutch Pension Act dated 1 January 2007. The annual premium will be equal to the
percentage of the pensionable salary (which is the annual base salary exclusive
holiday allowance minus the franchise amount related to the state old age pension
benefits) based on the age of the Employee, as mentioned in the so called
"Premiestaffelbesluit" of the Dutch Minister of Finance dated 28 April 2003, taking
into account an old age pension and a postponed build up partner pension inclusive a
premium exemption in case of disability. The Company will pay the pension
premiums due to the insurance company of which the Employee will contribute one-




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third (I/3 rd ). The Employee agrees with the Company that the Employee's
contribution will monthly be withhold from his gross base salary.

7.   EXPENSE REIMBURSEMENT; HEALTH BENEFITS AND
ACCIDENTAL, LIFE AND DISMEMBERMENT INSURANCE




7.2 Necessary and reasonable expenses incurred by the Employee in the
performance of his activities under this Agreement shall, upon submission of written
evidence of such expenses in accordance with the Company's Expense Policy, be paid
or reimbursed by the Company to the Employee. In addition for any one expenses in
excess of €200 per month or aggregate expenses in excess of €500 per month upfront
the written approval from the Vice President of the Company is required.

7.2 The Employee and eligible dependents may participate in the Company taken out
health and dental insurance programs. The Company will reimburse the premium if
and as far as this is a legal obligation on the basis of the Health Insurance Act (Wet op
de Zorgverzekering). Such health and dental insurance programs are reviewed by the
Company on a periodic basis and are therefore subject to change by the Company.

7.3 The Employee will also be eligible to participate in the Company sponsored
disability and accidental, life and dismemberment insurance programs, and the
Company will reimburse or pay the base premiums for such insurance programs. Such
insurance programs are reviewed by the Company on a periodic basis and are subject
to change by the Company.

8.     VACATION AND HOLIDAYS

For each full calendar year during which this employment hereunder continues, the
Employee shall be entitled to
(which Employee may take on any day subject to the limitation in the next sentence) ..
Vacation and holidays are to be taken in consultation with and with the approval of
the Company. Employee will be subject to the Company's vacation and holiday hour
ceiling caps for its employees.

9.     ILLNESS OR DISABLEMENT

9.1    In the event that the Employee is prevented from performing his duties under
this Agreement as a result of illness, injury or other incapacity, he shall be required to
give notice thereof to the Company at the earliest possible opportunity.

9.2     During a period of illness or incapacity, the Employee shall (i) comply with all
provisions of Dutch law regarding illness or disability, (ii) follow all instructions or
directions of the Company and/or any other authority so designated by the relevant




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Industrial Board (bedrijfsvereniging), if any, and (iii) co-operate with a medical
examination by a physician to be appointed by the Company, if such examination is
required by the Company in addition to (i) and (ii) hereof.




9.4     Consecutive periods of illness, injury or other physical incapacity interrupted
by one or more periods of less than four weeks each, during which the Employee
performs (pa1t of) his duties under this Agreement, will be deemed to be one period of
illness or incapacity for the determination of the time during which the Company shall
continue to pay the base salary of the Employee as referred to above.

9.5     The payments as referred to in paragraph 9.3 will be made less any amounts
paid directly to the Employee under any insurance taken out by the Employee or the
Company and/or legal insurances in this respect and/or benefits and/or claims in
respect of loss of income vis-a-vis third parties in connection with said illness or
disability.

9.6     In the event that a third party or parties may be liable for the incapacity of the
Employee. the Company shall only make payments where there is no recourse of the
Employee against such third party. The Company may, however, advance to the
Employee during such period sums not yet recovered by the Employee from such
third party, against such security as may be required by the Company.

10. CONFIDENTIALITY, NON-DISCLOSURE AND COMPANY
PROPERTY

10.1 The Employee shall not during the continuance of his employment with the
Company or at any time after termination thereof, print, publish or communicate or
otherwise disclose to any person, firm or company or use directly or indirectly (except
in the proper performance of his duties hereunder): the contents of this Agreement or
any trade secret or know-how, or any information of knowledge concerning or in any
way relating to the business of the Company. its subsidiaries or affiliated companies
or the Company's parent company, or any information or knowledge relating to the
clients, affairs, finances, dealings and concerns of the Company, its subsidiaries or
affiliated companies or the Company's parent company which may have become
known to the Employee during the course of his employment and shall use his best
endeavour to prevent the publication or disclosure thereof.

10.2 In the event that the Employee is ordered to refrain from active duty and upon
termination of this Agreement - irrespective of the manner in which and the reasons
for which his employment may be terminated- the Employee shall at the Company's
first request to that effect surrender to the Company all property of the Company in
his possession as well as all documents which in any way relate to the Company
and/or the companies affiliated with the Company and/or its customers and other



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 business relations, all this in the broadest sense, as well as all copies of such
 documents and property and he shall refrain from making, retaining, or distributing
 any copies thereof.

 11.    NON-COMPETITION

 11.1 During the agreement and for a period of one year after termination of this
 Agreement, the Employee shall not without prior written approval of the Company be
 permitted to do any of the following in the Netherlands other than in the performance
 of his duties under this agreement:

 (a)    work for or be involved with, in any manner, whether directly or indirectly
        and whether paid or unpaid, any person, organisation, company or enterprise
        pursuing activities in competition with, or similar or related to, the activities of
        the Company and/or the companies affiliated with the Company, and/or to
        have or take any interest in such organisation, company or enterprise;

 (b)    maintain in any manner whatsoever, whether directly or indirectly, business
        contacts with any person, organisation, company or enterprise with whom
        during the last two years preceding the termination of his employment the
        Company has had any business contact (hereinafter referred to as "Clients").
        The Company shall either regularly maintain a list of its Clients or maintain
        other documents in the regular course of business that substantiate the name of
        its Clients, and the Company shall provide a list of its Clients at the effective
        date of termination of this Agreement (or within 10 (ten) days thereafter). The
        Employee shall sign this list of Clients.

 (c)    induce present employees of the Company and/or companies affiliated with
        the Company or persons who in the period of two years preceding the
        termination of his employment have been or were employed by the Company
        and/or the companies affiliated with the Company to terminate their
        employment and/or to hire such present or former employees.

 11.2 The Employee undertakes and covenants with the Company that at no time
 after the termination of this Agreement, he/she shall directly or indirectly present
 himself as being interested in or employed by or in any other way connected with any
 group company other than as a former employee of the Company.

 11.3 Paragraphs 11.1 (a) and (b) of this Article 11 shall not apply in the event that
 the Company terminates Employee's employment.

 11.4 The restrictive covenants contained in this Article will remain applicable if
 (part ot) the business of the Company in which the Employee is active is transferred
 to a third party within the meaning of Article 7:662 and onwards of the Dutch Civil
 Code.




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 12.    SIDE ACTIVITIES

 12.1 Except as may be permitted by the License Agreement, the Employee shall not
 perform any paid or unpaid professional or business side activities without prior
 written approval of the Company.

 12.2 During his employment hereunder the Employee shall not be permitted to
 have or take in any way, whether directly or indirectly, any interest in companies
 pursuing activities in competition with or similar or related to the activities of the
 Company and/or the companies affiliated with the Company, or any interest in
 companies who are suppliers and/or licensors and/or principals and/or buyers and/or
 licensees of the Company and/or the companies affiliated with the Company unless
 the shares are traded on a recognised stock exchange

 13.    INTELLECTUAL PROPERTY RIGHTS

 13.1 The parties have concluded a License Agreement of even date herewith in
 relation to Amplifier Design Patents. This article 13 does not apply to the Amplifier
 Design Patents and licenses granted under the Amplifier Design Patents in the
 Agreement of even date herewith. In relation to any other (intellectual property) rights
 as specified hereafter, insofar as they are not vested in the Company by operation of
 law on the grounds of the employment relation between the parties, the Employee
 hereby explicitly states that he shall transfer and, to the extent possible, hereby in
 advance transfers to the Company any intellectual property rights of whatever nature
 in or arising from any work, ideas, concepts, discoveries, inventions, improvements
 and/or developments made or acquired by the Employee in the discharge of his duties
 for the Company or companies affiliated to the Company.

 13.2 The Employee shall promptly disclose to the Company fully and completely
 any and all of the work, ideas, concepts, discoveries, inventions, improvements and/or
 developments, made or acquired by the Employee in the discharge of his duties for
 the Company or companies affiliated to the Company.

 13.3 The Employee shall at the Company's request execute all documents and
 perform all acts as in the opinion of the Company may be necessary to obtain, or
 assist the Company in obtaining, any and all intellectual property rights together with
 all rights which may belong or accrue thereto in respect of any work, ideas, concepts,
 discoveries, inventions, improvements and/or developments as referred to in
 paragraph 1 of this Clause and to vest the same solely in the Company and for the
 exclusive benefit of the Company and/or companies affiliated with the Company, to
 the extent that the same have not already vested in the Company by law.

 13.4 The Employee acknowledges that his salary includes reasonable compensation
 for the fact that the intellectual property rights, referred to above, will vest in the
 Company by operation of law or for the transfer to the Company of such rights
 pursuant to paragraph l and 3 of this Clause.

 13.5 The Employee shall not disclose or bring into the Company's premises any
 proprietary information or trade secrets belonging to a third party.




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 14.    REMEDIES

 In deviation of Sections 3, 4 and 5 of article 7:650 of the Dutch Civil Code, the
 Employee will forfeit to the Company for each breach of any of the provisions of
 clauses 10, 11, and 13 hereof immediately, without prior notice or any judicial
 intervention being required, a penalty of€ 25,000 (in words twenty-five thousand
 euros) per breach plus€ 2,500 (in words two-thousand and five hundred euros) for
 each day that such breach continues, without prejudice to:

 (a)    the Company's right to claim instead compensation for the actual damage
        suffered by it, or its affiliated companies through such breach; and

 (b)    any other relief to which the Company may be entitled to.

 15.    FINAL PROVISIONS

 15 .1 This Agreement shall be governed by and construed in accordance with the
 laws of the Netherlands.

 15.2 The Company reserves the right to unilaterally amend the provisions of this
 Agreement from time to time in accordance with Article 7:613 of the Dutch Civil
 Code.

 15.3 All payments under this Agreement will be made less the usual deductions
 under the applicable tax and social security laws to be withheld by employers in the
 Netherlands unless it follows from the nature of the payment that it may be made tax-
 free.

 15.4   This employment is not governed by a collective labour agreement.

 15.5 The foregoing constitutes the entire employment agreement between the
 parties and supersedes all employment agreements previously made and given by and
 between the Employee and the (bodies of the) Company and/or companies affiliated
 with the Company.

 15.6 The Company will establish either a separate subsidiary or a branch office of
 one its existing European subsidiaries within a reasonable period of time following
 the opening of its design center in Delft, Holland. Thereafter, the Company may
 assign this Agreement to such subsidiary (and/or transfer Employee to be an
 employee of such subsidiary) provided that all of the material terms and conditions of
 employment and this Agreement remain in effect without change. It is the
 Company's current intention to establish a subsidiary in the Netherlands in the form
 of a private, limited liability company (Besloten Vennootschap (BV)) following the
 opening of its design center in Delft, Holland.




                                                                                 Page IX
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 In witness whereof this Agreement was executed in duplicate and signed by the
 parties in Sunnyvale, California on July_, 2007.


 THECOMPANY                                                THE EMPLOYEE
 Maxim integrated Products, Inc.


 BycAtj
    S U
 Title:     v'




                                                                                 PngeX
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                                        Annex 1

                                   (Job Description)

 Employee is responsible for the definition, design and development of integrated
 circuit products for the Company's MultiMedia Business Unit. These products
 include high performance operational amplifiers, instrumentation amplifiers,
 comparators, video products and audio products. Employee is also responsible for the
 overall management of the Delft Design Centre, and his duties will involve issues
 related to the facility, the recruiting of design engineers and other technical staff,
 maintaining projects on schedule, communicating project status back to the
 Company's corporate headquarters, and communicating information received from
 the Company's corporate headquarters to the staff in the Delft Design Centre.




                                                                                   Pagel
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            EXHIBIT B
           [PUBLIC VERSION]
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                         EMPLOYMENT AGREEMENT

THE UNDERSIGNED:

( 1)    MAXIM INTEGRATED PRODUCTS INC. a company organized under the
        law of Delaware in the United States, having its head office at 120 San Gabriel
        Drive, Sunnyvale, California 94086 (the Company),

and

(2)     NICO VAN RIJN residing at
        -        hereinafter referred to as (the Employee);

WHEREAS:

(a)     the Employee has explicitly declared that he, with the entering of this
        employment agreement, will not violate a non competition clause or any such
        similar clauses with a fonner employer (the Non Competition Clause);

 (b)    consequently parties have entered into a non-binding letter of intent dated June
        22, 2006, that was signed on June 29, 2006 regarding the employment of the
        Employee with the Company (and the terms of this agreement extinguish and
        terminates the letter of intent);

 (b)    and parties have reached agreement on the terms and conditions of
        employment which they wish to record in writing in this agreement;

 ( c)   the Company, given the fact that the Company has entered in the non-binding
        letter of intent and consequently entered into this employment agreement,
        accepts the declaration of the Employee that with this employment agreement
        he will not be in violation of the Non Competition Clause, but from a business
        point of view has an interest to minimise the risk that this declaration is not
        correct, if any such risk exists, as much as possible;

 (d)    parties therefore explicitly, unambiguously and unmistakably agree that if a
        former employer would invoke the Non Competition Clause and in (summary)
        proceedings a court will have (preliminarily) decided that the Employee is in
        violation of the Non Competition Clause and/or is not allowed to perform his
        duties on the bases of this employment agreement, this employment agreement
        will in accordance with article 1.4 of this Agreement terminate until the first
        date the Employee is no longer subject to the Non Competition Clause as
        determined by such court. Thereafter, this Agreement shall become re-
        effective and continue in effect pursuant to the terms and conditions contained
        herein. The Company will under no circumstances be obligated to pay the
        Employee any wage, damages, severance or other in respect to such a
        termination of the employment agreement as a result of the Non Competition
        Clause being invoked successfully by a former employer. Parties agree to this
        all irrespective of unforeseen circumstances, such as illness.

 HEREBY AGREE AS FOLLOWS:




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 1.     COMMENCEMENT AND TERM OF SERVICE

 1.1     This agreement (the Agreement), is entered into with effect from September
 3, 2007, or such later date as will be agreed upon by parties, for an indefinite period
 of time.

 1.2    This Employment Agreement may be terminated by either party in accordance
 with Dutch law as per the last day of any calendar month by written notice to the
 other party; the Employee observing a notice period of one month and the Company
 observing a notice period of two months.

 1.3    The employment will in any case terminate on the first day of the month in
 which the Employee reaches the age of 65 or the pensionable age under the
 Company's pension plan if any such plan exists.

 1.4     The Agreement will if a former employer would invoke the Non Competition
 Clause and in (summary) proceedings a court will have (preliminarily) decided that
 the Employee is in violation of the Non Competition Clause and/or is not allowed to
 perform his duties on the bases of this Agreement as of that date automatically be
 dissolved or at least be deemed to be terminated with mutual consent. However, this
 Agreement shall automatically become effective and continue in effect pursuant to the
 terms and conditions contained herein on the first date the Employee is no longer
 subject to the Non Competition Clause as determined by such court. If the Employee
 or the Company wishes so, the other party will be obliged to cooperate with a formal
 cantonal court procedure in which the termination of the employment agreement will
 be asked at such a short term as possible. The Employee will not be entitled to the
 salary, benefits and all other terms of employment under which (employee)
 insurances as of the date of the courts decision on the Non Competition Clause. Under
 no circumstances the Employee will be entitled to any damages, severance or other in
 respect of the termination of this Agreement as a result of the Non Competition
 Clause being invoked successfully by a former employer. Parties grant each other full
 and final settlement of all obligations out of the Agreement and the termination
 thereof. This article and the stipulation under a, c, and d, are a settlement agreement
 within the meaning of article 7:900 and following of the Dutch Civil Code.

 2.     DUTIES AND POWERS

 2.1     The Employee is employed in the position of Principal Member of Technical
 Staff of the Company's design centre to be established in Delft. A job description is
 attached to this Agreement as Annex 1.

 2.2   The Employee will devote his full time, energy and skills to the business of
 the Company.

 2.3      The Employee shall also perform the tasks reasonably assigned to him by the
 Company for any companies affiliated with the Company. Such functions shall be
 governed by the terms and conditions contained in this Agreement and shall not
 entitle the Employee to any further remuneration.




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 2.4     The Employee shall perform his functions from the to be established branch
 office of the Company ( or an affiliate of the Company) in Delft. In case the branch
 office in Delft has not yet been established upon the commencement date of this
 agreement, the Employee will, until this office has been established perfonn his
 functions from his home address or any other location designated by the Company in
 Delft. At this moment, it is the Company's intention to keep the design centre in Delft
 open and operational provided that such design centre satisfies the performance
 metrics used by the Company to measure performance of its individual design centres.
 Additionally, as the Company is an international company, the Employee may be
 required to travel to other locations, such as to the United States, and spend time
 abroad as demanded by training periods, international activities of the Company
 and/or requirements of his expected collaboration with Group Companies activities.

 2.5    Working hours are from Monday to Friday, 40 hours a week. The Employee is
 expected to work additional hours as part of his duties under this Agreement for
 which no additional remuneration will be paid.

 3.     SALARY AND HOLIDAY ALLOWANCE

 3. 1    The Employee shall receive                                             to be
 paid after withholding of tax and social security premiums in accordance with the
 Company's standard payroll practices.

 3.2    The salary referred under to 3.1 above is deemed to be inclusive ofa -


 3.3      The Employee shall not accept any monies or other remuneration from third
 parties in connection with his activities for the Company and/or the companies
 affiliated with the Company.

 4.     BONUS

 4.1     The Employee will participate in the Key Employees' Bonus Program as
 applicable from time to time, which is performance based and is assessed on
 Employee's attainment of specific goals during the previous year.
                                                       Participation in the Key
 Employee Bonus Program is contingent upon Employee's continued employment at
 the Company on the anniversary date of his employment and undergoing a
 performance review. Payment of a bonus to the Employee in any year will not lead to
 a right to future bonus payments. The Company is at all times entitled to unilaterally
 adjust or withdraw the Key Employees' Bonus Program.

 4.2     No payment of the bonus as mentioned under 4.1 will be made if this
 Agreement ends due to: (i) the fact that the Employee has served notice of termination
 of his employment with the Company; or (ii) if the reason for the termination of his
 employment by the Company is an urgent cause (dringende reden) as meant in article
 7:678 of the Dutch Civil Code or a severe reason (gewichtige reden) as meant in
 article 7:685 of the Dutch Civil Code for which the Employee can be blamed or which
 should come for his account.




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 5.     RESTRICTED STOCK UNITS AND ESPP

5.1     Subject to the approval by the Board of Directors of the Company, or a
Committee thereof,
- - from the Company's 1996 Stock Incentive Plan (the "Plan"). The
RSUs will vest in equal instalments on a quarterly basis (I/20 th per quarter) over fi ve
(5) years (vesting on February 15, May I 5, August 15 and November 15 of each year)
with the first vesting date to be November 15, 2007, subject to Employee' s continued
service to the Company through the relevant vesting dates. The RSUs will be settled
in shares of Company common stock on the vesting date with a purchase price of
$0.001 per share (the Company's par value), which will be considered to be paid with
past services rendered. The award of RS Us will be subject to the terms, definitions
and provisions of the Plan and the restricted stock unit agreement between to be
entered into between you and the Company after the Board's (or a Committee of the
Board) approval of the RS Us.

 Subject to the approval by the Board of Directors of Maxim or a Committee thereof,
 the Employee may also be eligible to participate in the performance based stock
 option grants and restricted stock units, subject to the terms and conditions of the
 Plan.

 5.2    The Employee will be eligible to participate in the Company's 1987 Employee
 Stock Purchase Plan (the ESPP), subject to the terms and conditions in the ESPP and
 applicable laws.

 5.3    The Employee shall comply with every rule of law and every regulation of the
 Company and Group Companies in force from time to time relating to dealings in
 shares or other securities.

 5.4     Stock options, restricted stock units, awards under the ESPP and annual
 bonuses paid pursuant to Section 4 are not part of Employee's employment wages and
 benefits.

 6.     PENSIONS

 The Company shall enter into an agreement with an insurance company to arrange a
 pension for the Employee on the basis of a defined contribution in accordance with
 the Dutch Pension Act dated l January 2007. The annual premium will be equal to the
 percentage of the pensionable salary (which is the annual base salary exclusive
 holiday allowance minus the franchise amount related to the state old age pension
 benefits) based on the age of the Employee, as mentioned in the so called
 "Premiestaffelbesluit" of the Dutch Minister of Finance dated 28 April 2003, taking
 into account an old age pension and a postponed build up partner pension inclusive a
 premium exemption in case of disability. The Company will pay the pension
 premiums due to the insurance company of which the Employee will contribute one-
 third (1 13 rd ). The Employee agrees with the Company that the Employee's
 contribution will monthly be withhold from his gross base salary.




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 7.   EXPENSE REIMBURSEMENT; HEALTH BENEFITS AND
 ACCIDENTAL, LIFE AND DISMEMBERMENT INSURANCE




 7.2 Necessary and reasonable expenses incurred by the Employee in the
 performance of his activities under this Agreement shall, upon submission of written
 evidence of such expenses in accordance with the Company's Expense Policy, be paid
 or reimbursed by the Company to the Employee. In addition for any one expenses in
 excess of €200 per month or aggregate expenses in excess of €500 per month upfront
 the written approval from the Vice President of the Company is required.

 7.2 The Employee and eligible dependents may patticipate in the Company taken out
 health and dental insurance programs. The Company will reimburse the premium if
 and as far as this is a legal obligation on the basis of the Health Insurance Act (Wet op
 de Zorgverzekering). Such health and dental insurance programs are reviewed by the
 Company on a periodic basis and are therefore subject to change by the Company.

 7.3 The Employee will also be eligible to participate in the Company sponsored
 disability and accidental, life and dismemberment insurance programs, and the
 Company will reimburse or pay the base premiums for such insurance programs. Such
 insurance programs are reviewed by the Company on a periodic basis and are subject
 to change by the Company.

 8.     VACATION AND HOLIDAYS

 For each full calendar year during which this employment hereunder continues, the
 Employee shall be entitled to
 (which Employee may take on any day subject to the lim itation in the next sentence) ..
 Vacation and holidays are to be taken in consultation with and with the approval of
 the Company. Employee will be subject to the Company's vacation and holiday hour
 ceiling caps for its employees.

 9.     ILLNESS OR DISABLEMENT

 9.1    In the event that the Employee is prevented from performing his duties under
 this Agreement as a result of illness, injury or other incapacity, he shall be required to
 give notice thereof to the Company at the earliest possible opportunity.

 9.2     During a period of illness or incapacity, the Employee shall (i) comply with all
 provisions of Dutch law regarding illness or disability, (ii) follow all instructions or
 directions of the Company and/or any other authority so designated by the relevant
 Industrial Board (bedrij.fsvereniging), if any, and (iii) co-operate with a medical
 examination by a physician to be appointed by the Company, if such examination is
 required by the Company in addition to (i) and (ii) hereof.




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 9 .4    Consecutive periods of illness, injury or other physical incapacity interrupted
 by one or more periods of less than four weeks each, during which the Employee
 performs (part of) his duties under this Agreement, will be deemed to be one period of
 illness or incapacity for the determination of the time during which the Company shal1
 continue to pay the base salary of the Employee as referred to above.

 9.5     The payments as referred to in paragraph 9.3 will be made less any amounts
 paid directly to the Employee under any insurance taken out by the Employee or the
 Company and/or legal insurances in this respect and/or benefits and/or claims in
 respect of loss of income vis-a-vis third parties in connection with said illness or
 disability.

 9.6     ln the event that a third party or parties may be liable for the incapacity of the
 Employee, the Company shall only make payments where there is no recourse of the
 Employee against such third party. The Company may, however, advance to the
 Employee during such period sums not yet recovered by the Employee from such
 third party, against such security as may be required by the Company.

 10. CONFIDENTIALITY, NON-DISCLOSURE AND COMPANY
 PROPERTY

 10.1 The Employee shall not during the continuance of his employment with the
 Company or at any time after termination thereof, print, publish or communicate or
 otherwise disclose to any person, firm or company or use directly or indirectly (except
 in the proper performance of his duties hereunder): the contents of this Agreement or
 any trade secret or know-how, or any information of knowledge concerning or in any
 way relating to the business of the Company, its subsidiaries or affiliated companies
 or the Company's parent company, or any information or knowledge relating to the
 clients, affairs, finances, dealings and concerns of the Company, its subsidiaries or
 affiliated companies or the Company's parent company which may have become
 known to the Employee during the course of his employment and shall use his best
 endeavour to prevent the publication or disclosure thereof.

 I 0.2 In the event that the Employee is ordered to refrain from active duty and upon
 termination of this Agreement - irrespective of the manner in which and the reasons
 for which his employment may be terminated - the Employee shall at the Company's
 first request to that effect surrender to the Company all property of the Company in
 his possession as well as all documents which in any way relate to the Company
 and/or the companies affiliated with the Company and/or its customers and other
 business relations, all this in the broadest sense, as well as all copies of such
 documents and property and he shall refrain from making, retaining, or distributing
 any copies thereof.




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 11.    NON-COMPETITION

 11.1 During the agreement and for a period of one year after termination of this
 Agreement, the Employee shall not without prior written approval of the Company be
 permitted to do any of the following in the Netherlands other than in the performance
 of his duties under this agreement:

 (a)    work for or be involved with, in any manner, whether directly or indirectly
        and whether paid or unpaid, any person, organisation, company or enterprise
        pursuing activities in competition with, or similar or related to, the activities of
        the Company and/or the companies affiliated with the Company, and/or to
        have or take any interest in such organisation, company or enterprise;

 (b)    maintain in any manner whatsoever, whether directly or indirectly, business
        contacts with any person, organisation, company or enterprise with whom
        during the last two years preceding the termination of his employment the
        Company has had any business contact (hereinafter referred to as "Clients").
        The Company shall either regularly maintain a list of its Clients or maintain
        other documents in the regular course of business that substantiate the name of
        its Clients, and the Company shall provide a list of its Clients at the effective
        date of termination of this Agreement (or within 10 (ten) days thereafter). The
        Employee shall sign this list of Clients.

 (c)    induce present employees of the Company and/or companies affiliated with
        the Company or persons who in the period of two years preceding the
        termination of his employment have been or were employed by the Company
        and/or the companies affiliated with the Company to terminate their
        employment and/or to hire such present or former employees.

 11.2 The Employee undertakes and covenants with the Company that at no time
 after the termination of this Agreement, he/she shall directly or indirectly present
 himself as being interested in or employed by or in any other way connected with any
 group company other than as a former employee of the Company.

 11.3 Paragraphs 11.1 (a) and (b) of this Article 11 shall not apply in the event that
 the Company terminates Employee's employment.

 11.4 The restrictive covenants contained in this Article will remain applicable if
 (part of) the business of the Company in which the Employee is active is transferred
 to a third party within the meaning of Article 7:662 and onwards of the Dutch Civil
 Code.

 12.    SIDE ACTIVITIES

 12.1 Except as may be permitted by the License Agreement, the Employee shall not
 perform any paid or unpaid professional or business side activities without prior
 written approval of the Company.

 12.2 During his employment hereunder the Employee shall not be permitted to
 have or take in any way, whether directly or indirectly, any interest in companies




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 pursuing activities in competition with or similar or related to the activities of the
 Company and/or the companies affiliated with the Company, or any interest in
 companies who are suppliers and/or licensors and/or principals and/or buyers and/or
 licensees of the Company and/or the companies affiliated with the Company unless
 the shares are traded on a recognised stock exchange

 13.    INTELLECTUAL PROPERTY RIGHTS

 13 .1 The parties have concluded a License Agreement of even date herewith in
 relation to Amplifier Design Patents. This article 13 does not apply to the Amplifier
 Design Patents and licenses granted under the Amplifier Design Patents in the
 Agreement of even date herewith. In relation to any other (intellectual property) rights
 as specified hereafter, insofar as they are not vested in the Company by operation of
 law on the grounds of the employment relation between the parties, the Employee
 hereby explicitly states that he shall transfer and, to the extent possible, hereby in
 advance transfers to the Company any intellectual property rights of whatever nature
 in or arising from any work, ideas, concepts, discoveries, inventions, improvements
 and/or developments made or acquired by the Employee in the discharge of his duties
 for the Company or companies affiliated to the Company.

 13.2 The Employee shall promptly disclose to the Company fully and completely
 any and all of the work, ideas, concepts, discoveries, inventions, improvements and/or
 developments, made or acquired by the Employee in the discharge of his duties for
 the Company or companies affiliated to the Company.

 13.3 The Employee shall at the Company's request execute all documents and
 perform all acts as in the opinion of the Company may be necessary to obtain, or
 assist the Company in obtaining, any and all intellectual property rights together with
 all rights which may belong or accrue thereto in respect of any work, ideas, concepts,
 discoveries, inventions, improvements and/or developments as referred to in
 paragraph 1 of this Clause and to vest the same solely in the Company and for the
 exclusive benefit of the Company and/or companies affiliated with the Company, to
 the extent that the same have not already vested in the Company by law.

 13.4 The Employee acknowledges that his salary includes reasonable compensation
 for the fact that the intellectual property rights, referred to above, will vest in the
 Company by operation of law or for the transfer to the Company of such rights
 pursuant to paragraph 1 and 3 of this Clause.

 13.5 The Employee shall not disclose or bring into the Company's premises any
 proprietary information or trade secrets belonging to a third party.

 14.     REMEDIES

 In deviation of Sections 3, 4 and 5 of article 7:650 of the Dutch Civil Code, the
 Employee will forfeit to the Company for each breach of any of the provisions of
 clauses 10, 11, and 13 hereof immediately, without prior notice or any judicial
 intervention being required, a penalty of€ 25,000 (in words twenty-five thousand
 euros) per breach plus€ 2,500 (in words two-thousand and five hundred euros) for
 each day that such breach continues, without prejudice to:




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 (a)    the Company's right to claim instead compensation for the actual damage
        suffered by it, or its affiliated companies through such breach; and

 (b)    any other relief to which the Company may be entitled to.

 15.    FINAL PROVISIONS

 15.1 This Agreement shall be governed by and construed in accordance with the
 laws of the Netherlands.

 15.2 The Company reserves the right to unilaterally amend the provisions of this
 Agreement from time to time in accordance with Article 7:613 of the Dutch Civil
 Code.

 15 .3 All payments under this Agreement will be made less the usual deductions
 under the applicable tax and social security laws to be withheld by employers in the
 Netherlands unless it follows from the nature of the payment that it may be made tax-
 free.

 15.4   This employment is not governed by a collective labour agreement.

 15.5 The foregoing constitutes the entire employment agreement between the
 parties and supersedes all employment agreements previously made and given by and
 between the Employee and the (bodies of the) Company and/or companies affiliated
 with the Company.

 15.6 The Company will establish either a separate subsidiary or a branch office of
 one its existing European subsidiaries within a reasonable period of time following
 the opening of its design center in Delft, Holland. Thereafter, the Company may
 assign this Agreement to such subsidiary (and/or transfer Employee to be an
 employee of such subsidiary) provided that all of the material terms and conditions of
 employment and this Agreement remain in effect without change. It is the
 Company's current intention to establish a subsidiary in the Netherlands in the form
 of a private, limited liability company (Besloten Vennootschap (BV)) following the
 opening of its design center in Delft, Holland.




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 In witness whereof this Agreement was executed in duplicate and signed by the
 parties in Sunnyvale, California on July_, 2007.

 THE COMPANY                                               THE EMPLOYEE
 Maxim Integrated Ptfpducts, Inc.
                    /\
 By:
           Cu<r)r
 Title:




                                                                                 Page X
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                                     Annex 1

                                 (Job Description)

 Employee is responsible for the definition, design and development of integrated
 circuit products for Maxim's MultiMedia Business Unit. These products include high
 performance operational amplifiers, instrumentation amplifiers, comparators, video
 products and audio products.




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           EXHIBIT C
           [PUBLIC VERSION]
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                                   SETTLEMENT AGREEMENT
                                     ('vaststellingsovereenkomst') •

 THE UNDERSIGNED:

 1.        The company with limited liability MAXIM INTEGRATED PRODUCTS
           NETHERLANDS B.V., having its registered seat and office address in Delft (2628 XJ) at
           the Dclftechpark 37 c-d, in this matter lawfully represented by Mark Casper, Director,
           hereinafter to be referred to as "Employer";

 and

 2.        Mr. Rudy Eschauzier, residing at
           -            hereinafter to be referred to as "Employee";

 Hereinafter jointly referred to as "Parties"."

 Whereby both parties agreed on the following on March 31 st 2015, which is agreed to be the
 effective date of this Agreement.


 WHEREAS~

 A.      Employee entered into employment with Employer on September 3, 2007. Employee
         currently holds the position of Director, IC Design for Employer;

 B.

 C.      The Employer has decided to restructure its or-ganization and as a result of this decision the
         office is closing and ihe Employee's position is redundant.

 D.      Employer has investigated whether any alternative position for Employee within the
         organization was available or would become available in the short term. Employer had to
         conclude that no alternative position is available for Employee, nor in the foreseeable future
         and that Employer consequently has no other alternative than to seek tennination of the
         employment;

 E.      Based on the foregoing, Employer has taken the initiative to tenninate the employment
         contract with Employee. There is neither an urgent cause [in Dutch: "dringende reden"]
         within the meaning of article 7:678 of the Dutch Civil Code nor is Employee to blame [in
         Dutch: "geen verwijtbaar gedrag"] for the termination of the employment contract;

 P.      The reason for termination is not related to any ban on tennination (in Dutch:
         "opzegverbod'1 within the meaning of articles 7:647, 648, 670 and 670a of the Dutch Civil
         Code or any other ban on termination of the employment contract;




 Initial Employer:                                                                        Initial Employci::



                                                                                        £
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 G.      Employer has advised Employee to seek lega1 advice before signing this settlement
         agreement (the "Agreement").

 H.      Parties reached an agreement in respect of the tennination of the employment contract and
         wish to lay down the tenns and conditions of the tennination of the employment contract in
         this present Agreement.

 l.      With the present Agreement Parties envisaged to conclude an exhaustive, comprehensive
         agreement.


 HAVE AGREED ON THE FOLLOWING:

 I.      The employment agreement shall terminate by mutual consent (in Dutch: "met wederzijds
         goedvinden") as per May 31, 2015 (the "Termination Date") on the tenns and conditions
         provided in this Agreement. Termination of the employment contract is not based on any
         urgent reason within the meaning of Section 678 of Book 7 of the Dutch Civil Code
         (Burgerlijk Wetboek) for which the Employee may be blamed. Neither has the employment
         contract been terminated by the Employee or at his request as a resa.lt of serious objections
         attaching to its continuation such that any such continuation could not reasonably be required
         from hjm.

 2.      Employee's base salary, holiday allowance and any other perquisites will be paid as usual
         until the Termination Date. A final settlement will be effected and paid on May 25 11' 2015.
         Any rights to bonus payments will lapse as at the Termination Date.

 3.




 4.      Any days' holiday accrued but not taken will be deemed to have been taken before the
         Termination Date. In other words, there wiU be no right to payment of sucb days.




                                                                                     :e
 lnitial Employer:                                                                      Initial Employee:
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 5.




 6.



 7.      Until the Termination Date Employer shall fulfill its pension obligations on the grounds of
         the Dutch Pension Act [Pensioenwet].

 8.      In the event that Employee dies after execution of the Settlement Agreement but prior to the
         Termination Date, the amounts promised pursuant to this Settlement Agreement shall be
         payable to Employee's heirs.

 9.      Employee shall return any and all records and property made available to him within the
         framework of his position (such as the laptop, corporate credit card, passwords, Engineering
         notebooks, to Employer in good condition before the Tennination Date.

 10.     The post-contractual obligations set forth in the employment contract will remain in full
         force with the exception of the non competition clause and/or the non-solicitation clause and
         article 11.1 (c) in relation to Maxim Integrated Products Netherlands B.V employees.

 11.     Exclusively at the Employee's express request, Employer may issue positive references and
         positively written testimonials.

 12.     Any refusal or suspension of benefits or a reduction in benefits under the social security
         legislation will not affect the validity of this Agreement. Employer is not liable for the risks
         arising from the so-called fictitious notice period. Employer will cooperate with any request
         for benefits under the WW by the Employee, but accepts no liability in respect of obtaining
         such benefits fully or partly and/or timely.

 13.     The Parties shall consult each other on time as to whether and how any internal and/or
         external statements will be made about the tennination of the employment contract.

 14.     The Parties shall observe absolute confidentiality in respect of third parties as to the contents
         of the Agreement, unless the Parties are legally required to disclose such information. In that
         case, Parties shall consult each other about this in advance.

 15.     This Agreement constiwtes the entire agreement and understanding between the Parties with
         respect to its subject matter and replaces and supersedes all prior agreements, arrangements,
         undertakings or statements regarding such subject matter. The agreements as laid down io
         this Agreement are meant to settle the termination of the employment contract in an
         exhaustive manner as well as any other legal relationship that existed between the Parties.

 16.     Each of the Parties hereby waives the right to nullify (in Dutch: "vernietigen''), rescind ((in
         Dutch: "ontbinden"), amend (in Dutch: "wijzigen") or to terminate (in Dutch: "opzeggen")



 Initial Employer.
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         this Agreement by serving notice, in whole or in part, or to request nullification, rescission,
         amendment or termination by serving notice of this Agreement, in whole or in part,
         including on the basis of articles 3:35, 6:228, 6:230 or 6:265 Dutch Civil Code.

 17.     The Parties mutually undertake to refrain from making such statements about each other in
         respect of third parties that their justified interests could be prejudiced as a consequence.

 18.     Once the obligations set forth above have been fulfilled, Employer and any companies
         affiliated with it, on the one hand, and Employee, on the other, will have no more additional
         obligations in respect of each other on the basis of the employment between them, its
         termination, or on any other basis what<;oever, and the Parties shall grant each other final
         discharge under the laws of any and all jurisdictions.

 19.     This Agreement shall be governed by and construed in accordance with the laws of the
         Netherlands.

 20.     The foregoing qualifies as a settlement agreement within the meaning of Section 7:900 of the
         Dutch Civil Code. Changes to the Agreement must be in writing in order to be valid.




 Thus agreed upon and executed in duplicate.




 Maxim\ Integrated Products Netherlands B. V.                        Rudy Eschauzier
 Mark Casper
 Director




 Initial Employer.                                                                       Initial Employee:
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           EXHIBIT D
           [PUBLIC VERSION]
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                                     SETTLEMENT AGREEMENT
                                         ('vasw.el/ingsovereenkomst')

   THE UNDERSlGNED:

   I.        The company with limited liability MAXIM JNTEGRATED PRODUCTS
             NETHERLANDS B. V.. having its registered seat and office address in Delft (2628 XJ) at
             the Delftechpark 37 c-d, in this matter lawfully represented by Mark Casper, Director,
             hereinafter to be referred to as "Employer";

   and

   2.        Mr. Nico Van Rijn residing at
             hereinafter to be referred to as "Employee";

   Hereinafter jointly referred to as "Parties".

   Whereby both parties agreed on the following on March 31 st 2015, which is agreed to be the
   effective date of this Agreement.

   WHEREAS:

   A.      Employee entered into employment with Employer on September 3, 2007 Employee
           currently holds the position of Senior Principal MTS, IC Design for Employer;

   B.

   C.      The Employer has decided to restructure its organization and as a result ofthis decision the
           office is closing an~ the Employee's position is redw1dant.

   D.      Employer has investigated whether any alternative position for Employee within the
           organization was available or would become available in the short term. Employer had to
           conclude that no alternative position is available for Employee, nor in the foreseeable future
           and that Employer consequently has no other alternative than to seek termination of the
           employment;

   E.      Based on the foregoing, Employer has taken the ini1iativc to terminate the employment
           contract witl1 Employee. There is neither an urgent cause [in Dutch: "dringende reden"]
           within tbe meaning of article 7:678 of the Dutch Civil Code nor is Employee to blame [in
           Dutch: "geen verwijtbaar gedrag'1 for the tennination of the employment contract;

   F.      The reason for tennination is not related to any ban on tennination [in Dutch:
           "opzegverbod"] within the meaning of articles 7:647, 648,670 and 670a of the Dutch Civil
           Code or any other ban on termination of the employment contract;




   Initial Employer:                                                                        Initial Employee:   A/   0
                                                                                                                /Vv'
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   G.       Employer has advised Employee to seek legal advice before signing this senlemeot
            agreement (the "Agreement").

   H.      Parties reached an agreement in respect of the termination of the employment contract and
           wish to Jay down the tenns and conditions of the termination of the employment contract in
           this present AgTeement.

   L        With the present Agreement Parties envisaged to conclude an exhaustive, comprehensive
            agreement.


   HAVE AGREED ON THE FOLLOWING:

    I.      The employment agreement shall terminate by mutual consent (in Dutch: "met wederzijds
            goedvinden") as per May 31, 2015 (the "Termination Date") on the terms and condition.,;
            provided in this Agreement Termination of the employment contract is not based on any
            urgent reason within the meaning of Section 678 of Book 7 of the Dutch Civil Code
            (Burgerlijk Wetboek) for which the Employee may be blamed. Neither has the employment
            contract been tenninated by the Employee or at his request as a result of serious objections
            attaching to its continuation such that any such continuation could not .reasonably be required
            from him.

   2.       Employee's base salary, holiday allowance and any other perquisites will be paid as usual
            until the Termination Date. A fmal settlement will be effected and paid on May 25 th 2015.
            Any rights to bonus payments will lapse as at the Tennination Date.

   3.




   4.       Any days' holiday accrued but not taken will be deemed to have been taken before the
            Tennination Date. In other words, there will be no right to payment of such days.




    Initial Employer;                                                                       Initial Employee:
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   5.



   6.



   7.      Until the Termination Date Employer shall fulfill its pension obligations on the grounds of
           1he Dutch Pension Act [Pensioenwet].

   S.       lo the event that Employee dies after execution of the Settlement Agreement but prior to the
            Termination Date, the amounts promised pursuant to this Settlement Agreement shall be
            payable to Employee's heirs.

   9.       Employee shall return any and all records and property made available to him within the
            framework of his position (such as the laptop, corporate credit card, mobile telephone,
            passwords, Engineering notebooks, to Employer- in good condition before the Termination
            Date.

   10.      The post-<:ontractual obligations set forth in the employment contract will remain in full
            force with the exception of the non competition clause and/or the non-solicitation clause and
            article 11.1 (c) in relation to Maxim Integrated Products Netherlands B.V employees.

   11.      Exclusively at the Employee's express request, Employer may issue positive references and
            positively written testimonials.

   12.      Any refusal or suspension of benefits or a reduction in benefits under the social security
            legislation wil I not affect the validity of this Agreement. Employer is not liable for the risks
            arising from the so-<:alled fictitious notice period. Employer will cooperate with any request
            for benefits llnder the WW by the Employee, but accepts no liability in respect of obtaining
            such benefits fully or partly and/or timely.

    13.     The Parties shall consult each other on time as to whether and bow any internal and/or
            external statements will be made about the termination of the employment contract.

   14.      The Parties shall observe absolute confidentiality in respect of third parties as to the contents
            of the Agreement, unless the Parties are legally required to disclose such information. fn that
            case, Parties shall consult each other about this in advance.

    15.     This Agreement constitutes the entire agreement and understanding between the Parties with
            respect to its subject matter and replaces and supersedes all prior agreements, arrangements,
            undertakings or statements regarding such subject matter. The agreements as laid down in
            this Agreement are meant to settle the termination of the employment contract in an
            exhaustive manner as well as any other legal relationship that existed between the Parties.




    Initial Employer:                                                                         lnit.ial Employee::   MR
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   16.     Each of the Parties hereby waives the right to nullify (in Dutch: "vernietigen"), rescind ((in
           Dutch: "ontbinden"), amend (in Dutch: "wijrigen") or to terminate (in Dutch: "opzeggen")
           this Agreement by serving notice, in whole or in part, or to request nullification, rescission,
           amendment or termination by serving notice of this Agreement, in whole or in part,
           including on the basis of articles 3:35, 6:228, 6:230 or 6:265 Dutch Civil Code.

   17.     Tbe Parties mutually undertake to refrain from making such statements about each other in
           respect of third parties that their justified interests could be prejudiced as a consequence.

   I&.     Once the obligations set forth above have been fulfilled, Employer and any companies
           affiliated with it, on the one hand, and Employee, on the other, will have no more additional
           obligations in respect of each other on the basis of the employment between them, its
           termination, or on llnY other basis whatsoever, and the Parties shall grant each other fiaal
           discharge under the laws of any and all jurisdictioos.

   l9.     This Agreement shall be governed by and construed in accordance with the laws of the
           Netherlands.

   20.     The foregoing qualifies as a settlement agreement within the meaning of Section 7 :900 of the
           Dutch Civil Code. Changes to the Agreement must be in writing in order to be valid.




   Thus agreed upon and executed in duplicate.




   M~xlm Integrate& Products Netherlands B.V.                      ~
                                                                        ~
   Mark Casper
   Director




   Initial Employer.                                                                       Initial Employee:
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            EXHIBIT E
           [PUBLIC VERSION]
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                                LICENSE AGREEMENT


This Patent License Agreement (the Agreement) is made effective as of the date of
signing by and between:

 I. Maxim Integrated Products, Inc., a company organized and existing under the
    laws ofDelaware, U.S.A., having its principal office at 120 San Gabriel Drive,
    Sunnyvale, CA 94086 USA, United States of America, hereinafter referred to as
    "Maxim",

 AND

 2. Rudy Escbauzier, residing at -                               ■
    -         hereinafter referred to as " Eschauzier",

 3. NicovanRijn,residingat _ _ _
    hereinafter referred to as "Van Rijn".

       Parties under 2 and 3 may hereinafter collectively be referred to as "the
       Inventors".

 RECITALS

 A. Maxim is a worldwide leader in design, development, and manufacture of linear
    and mixed-signal integrated circuits;

 B. After the date of entering into this License Agreement, the Inventors may use their
    experience and personal skills to develop certain Know-How relating to Amplifier
    Design Technology.

 C. In the event that Know-How leads to Amplifier Design Patents that have
    conceptual and economic value, Maxim wishes to obtain a license under these
    patents pursuant to the terms and conditions in this Agreement;

 D. The Parties acknowledge that if Maxim shall not or no longer employ the
    Inventors, Maxim will be confronted with increased expenses in order to further
    develop the Amplifier Design Technology and to obtain the Amplifier Design
    Patents. In case the Inventors shall not or no longer be employed by Maxim, a
    reduced royalty rate shall apply, which takes into account these increased
    expenses;

 E. The Inventors are willing to grant a licence to Maxim under the conditions set out
    in this Agreement, which reflect Maxim's privileged position;

 NOW THEREFORE, in consideration of the mutual promises and covenants herein
 contained, the Parties agree as follows:

 1.        DEFINITIONS

 1.1     for the purpose of the Agreement the following definitions shall apply:
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 "Amplifier Design Patent(sr' shall mean any patent(s) in relation to Amplifier Design
 Technology;

 "Amplifier Design Technology" shall mean the technology on amplifier design, which
 may be developed after the date of entering into this License Agreement.;

 "Concept Development Stage" shall mean the period during which the Inventors shall
 deliver to Maxim basic schematics related to amplifier design;

 "Effective Date" shall mean the date this agreement has been signed.

 " Employment Agreement" shall mean the employment agreement between Maxim
 and the Inventors;




 "Inventors" shall mean Rudy Eschauzier and Nico van Rijn;

 "Know-How" is defined to be all the know-how the Inventors have developed
 regarding Amplifier Design Technology after the date ofentering into this License
 Agreement;

 Parties shall mean the parties to this Agreement, e.g. Maxim and the Inventors;

 "Products" is defined to be any products that fall within the scope of the Amplifier
 Design Patent(s);

 "Stand-Alone Amplifiers" shall mean stand alone amplifiers that are similar in
 functionality to the following kinds of product families:
 ■-i--'j
 2.     GRANT OF R IGHTS

 2.1   Maxim shall have a right of first refusal to obtain a perpetual, exclusive and
       worldwide license - with the right to sub-license - under the Amplifier Design
       Technology including any and all Amplifier Design Patents resulting from said
       Amplifier Design Technology as long as the Amplifier Design Patents are in
       force.

 2.2   With regard to the Amplifier Design Patents or patent applications therefor,
       Maxim would pay (or reimburse) the Inventors for all reasonable legal
       counselling, filing, prosecution and maintenance costs. Maxim shall be entitled
       to decide on strategy relating to filing, prosecution and maintenance and Maxim
       shall be entitled to decide on the appointment of outside counsel, if any. Strategy
       related to filing means that Maxim may decide that patent applications shall not
       be filed in case Maxim is advised by outside counsel, and in communication




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       with the Inventors, that the subject matter is not patentable Also, strategy related
       to filing means that Maxim, in its sole and absolute discretion, shall be able to
       decide on the countries for which designate the respective app lications, claim
       construction, priority applications, and the like. The parties to this agreement
       hereby agree that patent applications wil l be filed wit~ect to Amplifier
       Design Technology used in the four product families - - •
       . . as outlined in the attached product and specifications listing provided that
       the subject matter is patentable.

 2.3   In case Maxim wishes to exercise its right of first refusal under clause 2. 1 above,
       Maxim shall be obligated to do so within 200 days from the date of issuance of
       the Amplifier Design Patents by giving the Inventors written notice. The
       Inventors shall inform Maxim immediately in writing as soon as the date of
       grant of a particular Amplifier Design Patent becomes known. In case the
       Inventors do not inform Maxim timely, the 200-day period will start running as
       of the moment Maxim is informed by the Inventors in writing.

 2.4   Each Amplifier Design Patent will be offered individually to Maxim.

 2.5   The first time that Maxim exercises its right of first refusal (i.e. the first time
       that Maxim wishes to obtain a license under the Amplifier Design Patents),
       subject to clause 2.6 below, Maxim shal I pay to the Inventors jointly (i.e. to be
       divided by them in accordance with written instructions from the Inventors
       given to Maxim) -- ■-- - to license the Amplifier
       Design Patents in accordance with the terms contained herein. This fee shall be
       paid only once and shall not be due in the event Maxim wishes to exercise its
       right of first refusal in relation to any subsequent Amplifier Design Patent(s).

 2.6   The -         ■-           -        -
                                          that is mentioned in clause 2.5 above, shall
       only be paid by Maxim to the Inventors upon confirmation that the Amplifier
       Design Patents have conceptual and economic value in the market.

 2.7   The conceptual and economic value of the Amplifier Design Patents in the
       market, as mentioned in clause 2.6 above, will be based on the product and
       specification listing attached as Annex 1. The Parties agree that if the Amplifier
       Design Patents enable products that show improvements of"similar" magnitude
       as compared to the attached product and specifications listing, then this will
       establish that the Amplifier Design Patents have conceptual and economic value
       in the market for the purpose of payment of the fee specified above.

 2.8   In the event Maxim decides to license one or more Amplifier Design Patents (on
       an exclusive, worldwide and perpetual basis), Maxim will use its commercially
       reasonable efforts to commercia lize and sell stand-alone amplifiers utilizing
       such Amplifier Design Patents at a profit

 2.9   In the event Maxim elects not to exercise its right of first refusal to license a
       particular Amplifier Design Patent, the Inventors shall be free to grant licences
       to third parties under said patiicular Amplifier Design Patent. Maxim will be
       deemed to have made such election, if it will not have exercised its right of first
       refusal within the 200-day period meant in clause 2.3 above.



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 5.      OTHER INTELLECTUAL PROPERTY

 5.1    Intellectual Property not including the Amplifier Design Technology as defined
        in this Agreement that is conceived and developed by the Inventors in the course
        of their employment with Maxim is made subject to clause 13 of the
        Employment Agreement (Intellectual Property Rights).

 6.      TERM AND TERMINATION

 6.1    This Agreement shall come into force as of the Effective Date and shall continue
        in full force and effect until terminated.

 6.2    This Agreement can only be terminated with the explicit written consent of the
        Parties.

 6.3    Termination of the Employment Agreement, by whatever cause, will not result
        in termination of this agreement or any existing license agreement between the
        Parties, including the payment obligation of Maxim pursuant to such agreement.
        Termination of the Employment Agreement will not affect Maxim's right of
        first refusal with respect to any projects that are in the Concept Development
        Stage or that already passed that stage at the time of such termination. However,
        upon request by the Inventors, Maxim will be obligated to indicate to the
        Inventors within 200 days after such request, whether it intends to execute its
        right of first refusal.

 7.      C0NflOENTIALITY

 7.1    Each party agrees not to disclose to any third party and not to use, except for the
        purpose of the Agreement, any information of a confidential nature including
        but not limited to composition, technical information and know-how,
        commercial information and know-how, price structures, sales and costs,
        hereinafter referred to as " information". The above does not apply to technical
        information and know-how if the Inventors, on the basis of the other provisions
        of this agreement, are entitled to grant licenses to third parties, only to the extent
        that such information and know-how is essential for use of the licenses granted
        or to be granted.

 7 .2   It is expressly understood that all information provided by each party to the
        other party and supplied to third parties is to be used solely for the purpose of
        this Agreement and is deemed strictly confidential.




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 7.3   Each party shall take all steps to effectively ensure the confidential nature of the
       Information.

 7.4   This Agreement is confidential and each party undertakes not to disclose its
       contents, terms and provisions, except as to the purposes described above.

 7.5   The provisions of this clause shall remain in force even after the termination for
       whatever reason, with the exception of Technical Information and Know-How.

 8.     VALIDITY AND ENFORCEMENT OF THE AMPLIFIER DESIGN PATENTS

 8.1   The Inventors warrant that they

                (i)     have not made publicly available, and/or;

                (ii)    have not otherwise put to use, any information including
                        documents, drawings, technical data, commercial information
                        etc. that might jeopardize the prosecution and grant Amplifier
                        Design Patents.

 8.2   It is understood that any particular licence mentioned under Article 2.1 will
       terminate upon expiration, nullification or revocation of the particular Amplifier
       Design Patent under which the particular license was granted. If as a result of
       actions of third parties any particular Amplifier Design Patent or a substantial
       part thereof shall be declared null and void by way of an irreversible decision,
       such that no enforceable claim covers the products in the particular territory, the
       obligation to pay royalties under articles 2, 3 and 4 above ceases to exist for
       products that were manufactured, distributed or sold after the date of such
       declaration.

 8.3   At all times shall Maxim be entitled to enforce the Amplifier Design Patents.
       Immediately upon request from Maxim, the Inventors shall execute all
       documents necessary to enable Maxim to enforce the Amplifier Design Patents.
       In case this is necessary, the Inventors shall join Maxim in infringement
       proceedings at the direction of Maxim. The Inventors shall provide all
       reasonable assistance if so required by Maxim in the context of infringement
       proceedings. In case Maxim wishes to enforce a particular Amplifier Design
       Patent, Maxim shall pay for all costs related thereto. In case the Inventors whish
       to enforce the Amplifier Design Patents they shall have to inform Maxim prior
       to initiating any action. In the event Maxim shall decide not to enforce said
       particular Amplifier Design Patent, any costs related to infringement actions
       shall be born by the Inventors.

 9.      INDEMNIFICATION OF THE INVENTORS BY MAXIM

 9.1   In the event Maxim exercises its right of first refusal to obtain a license under a
       particular Amplifier Design Patent, then Maxim will defend and indemnify the
       Inventors for all expenses and damages for claims alleging that the particular
       Amplifier Design Patent infringes a third party's patent, unless Maxim




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       establishes that the Inventors had actual knowledge - prior to filing the particular
       Amplifier Design Patent application - of the third party's patent.

 10.    MISCELLANEOUS

 10.1 The Inventors shall be entitled to transfer any of the rights that they will have
      pursuant to clauses 2, 3 and 4 above to an entity directly or indirectly owned or
      controlled by the Inventors (in which no third parties have (partial) control or
      (partial) ownership of the rights), provided that this entity jg not a competitor of
      Maxim, as determined by Maxim. Such transfer must be made, if at all, only
      before Maxim exercises its right of first of first refusal with respect to a
      particular Amplifier Design Patent. ln case of such transfer Maxim will enter
      into license agreements with and make royalty payments, if any, to the
      transferee, at the direction of the Inventors, provided that there are no adverse
      tax or other adverse consequences to Maxim. In case of transfer of the Amplifier
      Design Patents the transferee shall be bound to the relevant provisions in this
      Agreement relating to ownership of the Amplifier Design Patents, including (but
      not excluding others) clause 8.3 above.

 11.    CHOICE OF LAW AND FORUM

 11.1 Any dispute, controversy or claim arising out of or in connection with this
      Agreement which the Parties fail to settle amicably shall be governed by the
      following provisions:


                (i)     lf Maxim is the party that files, initiates or asserts a claim in the
                        capacity of a plaintiff, then such claim shall be submitted to a
                        court of law in the Netherlands, in which case the Agreement
                        shall be governed by and construed in accordance with the laws
                        of the Netherlands.

                (ii)    If any or both of the Inventors is the party that files, initiates or
                        asserts a claim in the capacity of a plaintiff, then such claim
                        shall be submitted to the State or Federal Courts in Santa Clara
                        County California, in which case the Agreement shall be
                        governed by and construed in accordance with the laws of the
                        State of California.




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 IN WITNESS WHEREOF the Parties hereto have caused the Agreement to be
 executed in threefold.




 Place:




 Nico

 Place:   /Je#
 Date:    7 /zo/ o ..)-




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                               ANNEX 1

                    Product and Specification Listing
                               (attached)
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                              ANNEX2

                      Sample Royalty Calculation




                                                                            -
